  Case 15-58481-lrc      Doc 60     Filed 04/28/21 Entered 04/28/21 16:30:40           Desc Main
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                       United States Bankruptcy Court
                               Northern District of Georgia
                                     1340 U.S. COURTHOUSE
                                   75 TED TURNER DRIVE S.W.
                                    ATLANTA, GEORGIA 30303

 M. REGINA THOMAS                                                               FRED CHILDERS
 CLERK OF COURT                                                           CHIEF DEPUTY CLERK




                                          April 28, 2021



 Kimberly Crowley
 826 Johnson Road
 Lawrenceville, GA 30044

      Re: Petition for Unclaimed Funds
      Case No. 15-58481 — Kimberly Marie Crowley

Dear Ms. Crowley:

 Reference  is made to your Petition for Payment of Unclaimed Funds in the amount of
 $7,848.85. To complete the processing of this application, the Petition must be
 Amended to include the Debtor(s) name in the caption of the Petition. The Amended
 Petition must be notarized and served to the appropriate parties.

Please visit our website at www.ganb.uscourts.gov and select Court Information, Unclaimed
Funds to view the Pro Se Instructions. Once the Amended Petition has been received, the
processing of this application can continue.

Please contact Carrie Ramirez, Financial Specialist, at (404) 215-1142, for further assistance.



                                        Sincerely,


                                        Carrie Ramirez
                                        Financial Specialist
